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                       1     PAUL L. REIN, Esq. (SBN 43053)
                             PATRICIA BARBOSA, Esq. (SBN 125865)
                       2     JULIE MCLEAN, Esq. (SBN 215202)
                             LAW OFFICES OF PAUL L. REIN
                       3     200 Lakeside Dr., Suite A
                             Oakland, CA 94612
                       4     (510) 832-5001

                       5     Attorneys for Plaintiff
                             TOM FISHER
                       6
                             JAMES W. PINCIN, Esq. (SBN 125443)
                       7     NISSON, PINCIN, SINCLAIR, HILL & PERRINNE
                             Attorneys at Law
                       8     P.O. Box 992710
                             Redding, CA 96099
                       9     (530) 246-4201

                     10      Attorneys for Defendants
                             CARL KARCHER ENTERPRISES, INC.,
                     11      dba CARL’S JR. RESTAURANT; MAC5
                             PROPERTIES, LLC; FOODS NORTH LLC
                     12

                     13                           UNITED STATES DISTRICT COURT
                                                 EASTERN DISTRICT OF CALIFORNIA
                     14

                     15      TOM FISHER,                        CASE NO. CIV-S 04-2059 MCE DAD

                     16            Plaintiff,                   Civil Rights

                     17      v.
                                                                CONSENT DECREE AND ORDER
                     18
                             CARL KARCHER ENTERPRISES,
                     19      INC. dba CARL’S JR.
                             RESTAURANT; MAC5 PROPERTIES,
                     20      LLC; FOODS NORTH LLC; and
                             DOES 1 through 25,
                     21      Inclusive,

                     22            Defendants.
                                                               /
                     23
                     24
                                                    CONSENT DECREE AND ORDER
                     25
                                   1.   Plaintiff TOM FISHER filed a Complaint on September
                     26
                             30, 2004 and a First Amended Complaint in this action on
                     27
                             December 16, 2004, to enforce provisions of the Americans with
                     28
    LAW OFFICES OF
   PAUL L. REIN
200 LAKESIDE DR., SUITE A
OAKLAND, CA 94612-3503
     (510) 832-5001                                            — 1 —             C:\iFolder\mengland\Home\TO DOCKET CIVIL\04cv2059.o.0623.doc
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                       1     Disabilities Act of 1990 ("ADA"), 42 U.S.C. §§ 12101 et seq.,
                       2     and California civil rights laws against Defendants, CARL
                       3     KARCHER ENTERPRISES, INC. dba CARL’S JR. RESTAURANT; MAC5
                       4     PROPERTIES, LLC; FOODS NORTH LLC; and DOES 1 through 25,
                       5     Inclusive.    Plaintiff has alleged that Defendants CARL KARCHER
                       6     ENTERPRISES, INC. dba CARL’S JR. RESTAURANT; MAC5 PROPERTIES,
                       7     LLC; and FOODS NORTH LLC violated Title III of the ADA and
                       8     sections 51, 52, 54.1, and 55 of the California Civil Code, and
                       9     sections 19955 et seq., of the California Health and Safety
                     10      Code by failing to provide full and equal access to their
                     11      facilities at the Carl’s Jr. restaurant located at 2516
                     12      Esplanade, Chico, California when plaintiff visited the subject
                     13      facility on October 2, 2003.
                     14            2.     Defendants CARL KARCHER ENTERPRISES, INC. dba CARL’S
                     15      JR. RESTAURANT; MAC5 PROPERTIES, LLC; FOODS NORTH LLC;
                     16      (“Defendants”) deny the allegations in the Complaint and by
                     17      entering into this Consent Decree and Order do not admit
                     18      liability to any of the allegations in Plaintiff’s Complaint
                     19      filed in this action.     The parties hereby enter into this
                     20      Consent Decree and Order for the purpose of resolving this
                     21      lawsuit without the need for protracted litigation, and without
                     22      the admission of any liability.
                     23
                     24      JURISDICTION:
                     25            3.     The parties to this consent decree agree that the
                     26      Court has jurisdiction of this matter pursuant to 28 USC §1331
                     27      for violations of the Americans with Disabilities Act of 1990,
                     28      42 USC 12101 et seq. and pursuant to pendant jurisdiction for
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   PAUL L. REIN
200 LAKESIDE DR., SUITE A
OAKLAND, CA 94612-3503
     (510) 832-5001                                            — 2 —             C:\iFolder\mengland\Home\TO DOCKET CIVIL\04cv2059.o.0623.doc
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                       1     violations of California Health & Safety Code §19955 et seq.,
                       2     including §19959; Title 24 California Code of Regulations; and
                       3     California Civil Code §§51; 52; 54; 54.1; §54.3; and 55.
                       4           4.   In order to avoid the costs, expense, and uncertainty
                       5     of protracted litigation, the parties to this consent decree
                       6     agree to entry of this Order to resolve all claims regarding
                       7     injunctive relief raised in the First Amended Complaint filed
                       8     with this Court on December 16, 2004.        Accordingly, they agree
                       9     to the entry of this Order without trial or further
                     10      adjudication of any issues of fact or law concerning
                     11      plaintiff’s claims for injunctive relief.
                     12                 WHEREFORE, the parties to this consent decree hereby
                     13      agree and stipulate to the Court’s entry of this Consent Decree
                     14      and Order, which provides as follows:
                     15

                     16      SETTLEMENT OF INJUNCTIVE RELIEF:
                     17            5.   This Order shall be a full, complete, and final
                     18      disposition and settlement of Plaintiff’s claims against
                     19      Defendants for injunctive relief that have arisen out of the
                     20      subject Complaint.     The parties agree that there has been no
                     21      admission or finding of liability or violation of the ADA
                     22      and/or California civil rights laws, and this Consent Decree
                     23      and Order should not be construed as such.
                     24            6.      The parties agree and stipulate that the corrective
                     25      work will be performed in compliance with the standards and
                     26      specifications for disabled access as set forth in the
                     27      California Code of Regulations, Title 24-2 and Americans with
                     28      Disabilities Act Accessibility Guidelines, unless other
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   PAUL L. REIN
200 LAKESIDE DR., SUITE A
OAKLAND, CA 94612-3503
     (510) 832-5001                                            — 3 —             C:\iFolder\mengland\Home\TO DOCKET CIVIL\04cv2059.o.0623.doc
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                       1     standards are specifically agreed to in this Consent and Order:
                       2           a)     Remedial Measures: The injunctive relief agreed upon
                       3     by the Parties is attached as Attachment A & B to this Consent
                       4     Decree, which is incorporated herein by reference as if fully
                       5     set forth in this document.      Defendants agree to undertake all
                       6     remedial work set forth in Attachment A & B.
                       7           b)     Timing of Injunctive Relief:     Defendants will submit
                       8     plans for all corrective work within 30 days of entry of this
                       9     consent decree and order by the court, will commence work
                     10      within 30 days of receiving approval from the building
                     11      department, and will complete work within 60 days of
                     12      commencement.     In the event that unforeseen difficulties
                     13      prevent defendants from completing any of the agreed-upon
                     14      injunctive relief, defendants or their counsel will notify
                     15      plaintiff’s counsel in writing within 30 days of discovering
                     16      the delay.    Defendants or their counsel will notify plaintiff’s
                     17      counsel when the corrective work is completed, and in any case
                     18      will provide a status report no later than 120 days from the
                     19      entry of this consent decree.
                     20

                     21      DAMAGES, ATTORNEY FEES, LITIGATION EXPENSES, AND COSTS:
                     22                   7.   The parties have not reached an agreement
                     23      regarding plaintiff’s claims for damages, attorney fees,
                     24      litigation expenses and costs.       These issues shall be the
                     25      subject of further negotiation, a settlement conference with
                     26      Magistrate Judge Dale Drozd set for June 16, 2005, further
                     27      litigation, or of motions to the Court.
                     28
    LAW OFFICES OF
   PAUL L. REIN
200 LAKESIDE DR., SUITE A
OAKLAND, CA 94612-3503
     (510) 832-5001                                            — 4 —             C:\iFolder\mengland\Home\TO DOCKET CIVIL\04cv2059.o.0623.doc
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                       1     ENTIRE CONSENT ORDER:
                       2           8.    This Consent Order and Attachment A & B to this
                       3     Consent Decree, which is incorporated herein by reference as if
                       4     fully set forth in this document, constitutes the entire
                       5     agreement between the parties on the matters of injunctive
                       6     relief, and no other statement, promise, or agreement, either
                       7     written or oral, made by any of the parties or agents of any of
                       8     the parties, that is not contained in this written Consent
                       9     Order, shall be enforceable regarding the matters of injunctive
                     10      relief described herein.      This consent decree applies to
                     11      plaintiff’s claims for injunctive relief only and does not
                     12      resolve plaintiff’s claims for monetary damages, attorney’s
                     13      fees, litigation expenses and costs, which shall be the subject
                     14      of further negotiation and/or litigation.
                     15

                     16      CONSENT ORDER BINDING ON PARTIES AND SUCCESSORS IN INTEREST:
                     17            9.    This Consent Order shall be binding on Plaintiff TOM
                     18      FISHER, Defendants, CARL KARCHER ENTERPRISES, INC. dba CARL’S
                     19      JR. RESTAURANT; MAC5 PROPERTIES, LLC; FOODS NORTH LLC; and any
                     20      successors in interest.      The parties have a duty to so notify
                     21      all such successors in interest of the existence and terms of
                     22      this Consent Order during the period of the Court’s
                     23      jurisdiction of this consent decree.
                     24

                     25      MUTUAL RELEASE AND WAIVER OF CIVIL CODE SECTION 1542 AS TO
                     26      INJUNCTIVE RELIEF ONLY:
                     27            10.   Each of the parties to this Consent Decree
                     28      understands and agrees that there is a risk and possibility
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   PAUL L. REIN
200 LAKESIDE DR., SUITE A
OAKLAND, CA 94612-3503
     (510) 832-5001                                            — 5 —             C:\iFolder\mengland\Home\TO DOCKET CIVIL\04cv2059.o.0623.doc
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                       1     that, subsequent to the execution of this Consent Decree, any
                       2     or all of them will incur, suffer, or experience some further
                       3     loss or damage with respect to the Lawsuit which are unknown or
                       4     unanticipated at the time this Consent Decree is signed.
                       5     Except for all obligations required in this Consent Decree, the
                       6     parties intend that this Consent Decree apply to all such
                       7     further loss with respect to the Lawsuit, except those caused
                       8     by the parties subsequent to the execution of this Consent
                       9     Decree. Therefore, except for all obligations required in this
                     10      Consent Decree, this Consent Decree shall apply to and cover
                     11      any and all claims, demands, actions and causes of action by
                     12      the parties to this Consent Decree with respect to the Lawsuit,
                     13      whether the same are known, unknown or hereafter discovered or
                     14      ascertained, and the provisions of Section 1542 of the
                     15      California Civil Code are hereby expressly waived.                           Section
                     16      1542 provides as follows:
                     17            A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH THE
                     18            CREDITOR DOES NOT KNOW OR SUSPECT TO EXIST IN HIS FAVOR AT
                     19            THE TIME OF EXECUTING THE RELEASE, WHICH IF KNOWN BY HIM
                     20            MUST HAVE MATERIALLY AFFECTED HIS SETTLEMENT WITH THE
                     21            DEBTOR.
                     22      This waiver applies to the injunctive relief aspects of this
                     23      action only and does not include resolution of plaintiff’s
                     24      claims for damages, attorney fees, litigation expenses and
                     25      costs.
                     26            11.   Except for all obligations required in this Consent
                     27      Decree, and exclusive of the referenced continuing claims for
                     28      damages, statutory attorney fees, litigation expenses and
    LAW OFFICES OF
   PAUL L. REIN
200 LAKESIDE DR., SUITE A
OAKLAND, CA 94612-3503
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                       1     costs, each of the parties to this Consent Decree, on behalf of
                       2     each, their respective agents, representatives, predecessors,
                       3     successors, heirs, partners and assigns, releases and forever
                       4     discharges each other Party and all officers, directors,
                       5     shareholders, subsidiaries, joint venturers, stockholders,
                       6     partners, parent companies, employees, agents, attorneys,
                       7     insurance carriers, heirs, predecessors, and representatives of
                       8     each other Party, from all claims, demands, actions, and causes
                       9     of action of whatever kind or nature, presently known or
                     10      unknown, arising out of or in any way connected with the
                     11      Lawsuit.
                     12

                     13      TERM OF THE CONSENT ORDER:
                     14            12.   This Consent Order shall be in full force and effect
                     15      for a period of twelve (12) months after the date of entry of
                     16      this Consent Order, or until the injunctive relief contemplated
                     17      by this Order is completed, whichever occurs later.                             Magistrate
                     18      Judge Dale Drozd shall retain jurisdiction of this action to
                     19      enforce provisions of this Order for twelve (12) months after
                     20      the date of this Consent Decree, or until the injunctive relief
                     21      contemplated by this Order is completed, whichever occurs
                     22      later.
                     23
                     24      SEVERABILITY:
                     25            13.   If any term of this Consent Decree and Order is
                     26      determined by any court to be unenforceable, the other terms of
                     27      this Consent Decree and Order shall nonetheless remain in full
                     28      force and effect.
    LAW OFFICES OF
   PAUL L. REIN
200 LAKESIDE DR., SUITE A
OAKLAND, CA 94612-3503
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                       1     SIGNATORIES BIND PARTIES:
                       2           13.   Signatories on the behalf of the parties represent
                       3     that they are authorized to bind the parties to this Consent
                       4     Decree and Order.
                       5

                       6     Dated: June 16, 2005

                       7
                                                               /s/
                       8                                       Plaintiff TOM FISHER
                                                               (Original signature retained by
                       9                                       the Law Offices of Paul Rein)

                     10      Dated: June 16, 2005

                     11
                                                               /s/ Robert A. Wilson, Senior Vice
                     12                                        President
                                                               Defendant CARL KARCHER
                     13                                        ENTERPRISES, INC. dba CARL’S JR.
                                                               RESTAURANT
                     14                                        (Original signature retained by
                                                               the Law Office of Paul Rein)
                     15

                     16      Dated: June 16, 2005

                     17
                                                               /s/ Mike Mills
                     18                                        Defendant FOODS NORTH LLC
                                                               (Original signature retained by
                     19                                        the Law Office of Paul Rein)

                     20

                     21      APPROVED AS TO FORM:

                     22      Dated: June 16,         2005      PAUL L. REIN
                                                               PATRICIA BARBOSA
                     23                                        JULIE MCLEAN
                                                               LAW OFFICES OF PAUL L. REIN
                     24

                     25
                                                               /s/ Julie McLean_________________
                     26                                        Attorneys for Plaintiff
                                                               TOM FISHER
                     27      ///

                     28      ///
    LAW OFFICES OF
   PAUL L. REIN
200 LAKESIDE DR., SUITE A
OAKLAND, CA 94612-3503
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                       1     Dated: June 16, 2005              JAMES W. PINCIN
                                                               NISSON, PINCIN, et al.
                       2

                       3
                                                                /s/ James W. Pincin______________
                       4                                        Attorneys for Defendants
                                                                CARL KARCHER ENTERPRISES, INC.,
                       5                                        dba CARL’S JR. RESTAURANT; MAC5
                                                                PROPERTIES, LLC
                       6                                        (Original signature retained by
                                                                the Law Office of Paul Rein)
                       7

                       8

                       9                                       ORDER
                     10      Pursuant to stipulation, and for good cause shown, IT IS SO
                     11      ORDERED.
                     12

                     13      Dated: June 23, 2005
                     14                                      __________________________________
                     15                                      MORRISON C. ENGLAND, JR
                                                             UNITED STATES DISTRICT JUDGE
                     16
                     17

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    LAW OFFICES OF
   PAUL L. REIN
200 LAKESIDE DR., SUITE A
OAKLAND, CA 94612-3503
                                                                — 9 —
     (510) 832-5001
